         Case 20-33113-KRH                       Doc 1     Filed 07/23/20 Entered 07/23/20 05:57:30                              Desc Main
                                                          Document      Page 1 of 18
Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Eastern District of Virginia
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Ascena Retail Group, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          933 MacArthur Boulevard
                                          Number           Street                                     Number         Street


                                                                                                      P.O. Box
                                          Mahwah                          NJ        07430
                                          City                            State     Zip Code          City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Bergen County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://www.ascenaretail.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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                                                        Document      Page 2 of 18
Debtor            Ascena Retail Group, Inc.                                          Case number (if known)
           Name



                                              A. Check One:
7.   Describe debtor’s business
                                              ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                              ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                              ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                              ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                              ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                              ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                              ☒ None of the above

                                              B. Check all that apply:
                                              ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4481 (Clothing Stores)

8. Under which chapter of the                 Check One:
   Bankruptcy Code is the
   debtor filing?                             ☐ Chapter 7

                                              ☐ Chapter 9

      A debtor who is a “small                ☒ Chapter 11. Check all that apply:
      business debtor” must
                                                                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub-box. A                                  aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      debtor as defined in §                                      affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      1182(1) who elects to                                       balance sheet, statement of operations, cash-flow statement, and federal income tax
      proceed under subchapter                                    return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      V of chapter 11 (whether or                                 1116(1)(B).
      not the debtor is a “small
                                                                ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      business debtor”) must
                                                                  liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      check the second sub-box.                                   and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                                  selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if any of these documents do not exist,
                                                                  follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                ☐ A plan is being filed with this petition.

                                                                ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                  Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                              ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No
   filed by or against the debtor     ☐ Yes.         District                           When                       Case number
   within the last 8 years?                                                                      MM/DD/YYYY
     If more than 2 cases, attach a                  District                           When                       Case number
     separate list.                                                                              MM/DD/YYYY




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 2
             Case 20-33113-KRH                 Doc 1          Filed 07/23/20 Entered 07/23/20 05:57:30                                  Desc Main
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    Debtor           Ascena Retail Group, Inc.                                             Case number (if known)
              Name



    10. Are any bankruptcy cases            ☐ No
        pending or being filed by a         ☒ Yes.                                                                       Relationship     Affiliate
                                                          Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                          District     Eastern District of Virginia
       List all cases. If more than 1,                                                                                   When             07/23/2020
       attach a separate list.                          Case number, if known _______________________                                     MM / DD / YYYY

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.
                                           ☒     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                      ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                            safety.
                                                            What is the hazard?

                                                      ☐     It needs to be physically secured or protected from the weather.

                                                       ☐     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                             (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                             other options).
                                                      ☐     Other


                                                      Where is the property?
                                                                                             Number         Street



                                                                                             City                                State       Zip Code



                                                      Is the property insured?
                                                      ☐ No

                                                      ☐ Yes.         Insurance agency

                                                                     Contact name
                                                                     Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐      1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
        creditors1                        ☐      50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
                                          ☐      100-199                      ☐       10,001-25,000                  ☒     More than 100,000
                                          ☐      200-999




1      The Debtors’ estimated number of creditors noted here are provided on a consolidated basis.

       Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Ascena Retail Group, Inc.                                          Case number (if known)
          Name



15. Estimated assets                ☐        $0-$50,000                ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                    ☐        $50,001-$100,000          ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                    ☐        $100,001-$500,000         ☐     $50,000,001-$100 million               ☒    $10,000,000,001-$50 billion
                                    ☐        $500,001-$1 million       ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities           ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                    ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                    ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☒    $10,000,000,001-$50 billion
                                    ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐    More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of        petition.
    debtor
                                        I have been authorized to file this petition on behalf of the debtor.
                                        I have examined the information in this petition and have a reasonable belief that the information is true and
                                        correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                        Executed on         07/23/2020
                                                             MM/ DD / YYYY


                                             /s/ Carrie W. Teffner                                              Carrie W. Teffner
                                             Signature of authorized representative of debtor                Printed name

                                             Title    Authorized Signatory




18. Signature of attorney                    /s/ Cullen D. Speckhart                                        Date        07/23/2020
                                             Signature of attorney for debtor                                           MM/DD/YYYY



                                             Cullen D. Speckhart
                                             Printed name
                                             Cooley LLP
                                             Firm name
                                             1299 Pennsylvania Avenue, NW, Suite 700
                                             Number               Street
                                             Washington                                                             DC                20004-2400
                                             City                                                                   State               ZIP Code
                                             (202) 842-7800                                                         cspeckhart@cooley.com
                                             Contact phone                                                              Email address
                                             79096                                              Virginia
                                             Bar number                                     State
                                             (Admitted to practice in New York, Virginia, Missouri and Texas; Not admitted to practice in DC,
                                             supervised by members of DC bar)




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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Official Form 201A (12/15)

                                             IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                                        RICHMOND DIVISION

                                                                            )
       In re:                                                               )   Chapter 11
                                                                            )
       ASCENA RETAIL GROUP, INC.,                                           )   Case No. 20-___________(___)
                                                                            )
                                         Debtor.                            )
                                                                            )
           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

             1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
         number is   0-11736

             2. The following financial data is the latest available information and refers to the debtor’s condition on
         The Most Recent 10Q was filed on March 9, 2020, which reflected data as of February 1, 2020.


                (a)   Total assets                                              $   13,690,710,379.40
                (b)   Total debts (including debts listed in 2.c., below)       $   12,516,261,149.25
                (c)   Debt securities held by more than 500 holders                 N/A
                                                                                                                  Approximate
                                                                                                                  number of
                                                                                                                  holders:
                secured     ☐    unsecured     ☐    subordinated      ☐     $
                secured     ☐    unsecured     ☐    subordinated      ☐     $
                secured     ☐    unsecured     ☐    subordinated      ☐     $
                secured     ☐    unsecured     ☐    subordinated      ☐     $
                secured     ☐    unsecured     ☐    subordinated      ☐     $


                (d)   Number of shares of preferred stock                                                         0 issued
                                                                                                                  Approximately
                (e)   Number of shares of common stock                                                            10,000,000 issued
                                                                                                                  shares


             Comments, if any: Ascena Retail Group, Inc. does not and cannot know the precise number of beneficial
         holders of any of the debt securities it has issued and does not believe that any such securities are held by more than
         500 holders.


              3. Brief description of debtor’s business: Ascena Retail Group, Inc. (Nasdaq: ASNA) is a national specialty retailer
         offering apparel, shoes, and accessories for women under the Premium Fashion segment (Ann Taylor, LOFT, and
         Lou & Grey), Plus Fashion segment (Lane Bryant, Catherines, and Cacique) and for tween girls under the Kids Fashion
         Segment (Justice). Ascena Retail Group, Inc. through its retail brands operates e-commerce websites and
         approximately 2,800 stores throughout the United States, Canada, and Puerto Rico.

              4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
         voting securities of debtor:
         Stadium Capital Management LLC; Charles Schwab Investment Management, Inc.; Dimensional Fund Advisors LP;
         BlackRock Fund Advisors; Renaissance Technologies LLC; David R. Jaffe; Elise Jaffe.
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 Fill in this information to identify the case:
                                                                         ,
 United States Bankruptcy Court for the:
                           Eastern District of Virginia
                                        (State)                                                      ☐ Check if this is an
 Case number (if known):                                  Chapter   11                                   amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Eastern District of Virginia for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Ascena Retail Group, Inc.

                   Ascena Retail Group, Inc.                                    Chestnut Acquisition Sub Inc.
                   933 Inspiration LLC                                          Crosstown Traders, Inc.
                   Ann Card Services, Inc.                                      CS HoldCo II Inc.
                   Ann, Inc.                                                    CSGC, Inc.
                   AnnCo, Inc.                                                  CSI Industries, Inc.
                   AnnTaylor Distribution Services, Inc.                        CSPE, LLC
                   AnnTaylor of Puerto Rico, Inc.                               DBCM Holdings, LLC
                   AnnTaylor Retail, Inc.                                       DBI Holdings, Inc.
                   AnnTaylor, Inc.                                              DBX, Inc.
                   Ascena Retail Holdings, Inc.                                 Duluth Real Estate LLC
                   Ascena Trade Services, LLC                                   Etna Retail DC, LLC
                   ASNA Plus Fashion, Inc.                                      Fashion Apparel Sourcing LLC
                   ASNA Value Fashion LLC                                       Fashion Service Fulfillment
                   BackingBrands Buying Agent, LLC                               Corporation
                   BackingBrands Solutions, LLC                                 Fashion Service LLC
                   C.S.F. Corp.                                                 GC Fulfillment, LLC
                   Catalog Receivables LLC                                      Lane Bryant #6243, Inc.
                   Catalog Seller LLC                                           Lane Bryant of Pennsylvania, Inc.
                   Catherines #5124, Inc.                                       Lane Bryant Outlet 4106, Inc.
                   Catherines #5147, Inc.                                       Lane Bryant Purchasing Corp.
                   Catherines Stores Corporation                                Lane Bryant, Inc.
                   Catherines, Inc.                                             PSTM, Inc.
                   CCTM, Inc.                                                   Sonsi, Inc.
                   Charming Sales Co. Four, Inc.                                Spirit of America, Inc.
                   Charming Sales Co. One, Inc.                                 Too GC, LLC
                   Charming Sales Co Three, Inc.                                Tween Brands Agency, Inc.
                   Charming Sales Co. Two, Inc.                                 Tween Brands Direct Services Inc.
                   Charming Shoppes of Delaware, Inc.                           Tween Brands Investment, LLC
                   Charming Shoppes Receivables                                 Tween Brands Marketing, Inc.
                    Corp.                                                        Tween Brands Service Co.
                   Charming Shoppes Seller, Inc.                                Tween Brands, Inc.
                   Charming Shoppes Street, Inc.                                Winks Lane, Inc.
                   Charming Shoppes, Inc.                                       Worldwide Retail Holdings, Inc.
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE EASTERN DISTRICT OF VIRGINIA
                                         RICHMOND DIVISION

                                                         )
    In re:                                               )      Chapter 11
                                                         )
    ASCENA RETAIL GROUP, INC.,                           )      Case No. 20-___________(___)
                                                         )
                             Debtor.                     )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

                                                                                                Percentage
             Debtor              Equity Holders                Address of Equity Holder
                                                                                                   Held
                          Stadium Capital                    199 Elm Street
                                                                                                   9.6%
                          Management LLC                     New Canaan, CT 06840-5321
                          Charles Schwab Investment          211 Main Street
                                                                                                   9.4%
                          Management, Inc.                   San Francisco, CA 94105-1905
                          Dimensional Fund Advisors          1299 Ocean Ave.
                                                                                                   7.0%
    Ascena Retail         LP                                 Santa Monica, CA 90401-1038
    Group, Inc.           David R Jaffe                      [Redacted]                            6.0%
                                                             400 Howard St.
                          BlackRock Fund Advisors                                                  5.9%
                                                             San Francisco, CA 94105-2618
                          Renaissance Technologies           600 Route 25 A
                                                                                                   5.5%
                          LLC                                East Setauket, NY 11733-1235
                          Elise Jaffe                        [Redacted]                            5.1%




1      This list reflects holders of five percent or more of Ascena Retail Group, Inc.’s common stock. This list
       serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules
       of Bankruptcy Procedure. By the Debtors’ Motion for Entry of an Order (I) Extending Time to File
       Schedules and Statements of Financial Affairs (II) Authorizing the Debtors to File a Consolidated List
       of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each Debtor, (III) Authorizing the
       Debtors to File a Consolidated List of the Debtors’ 50 Largest Unsecured Creditors, (IV) Authorizing
       the Debtors to Redact Certain Personal Identification Information, (V) Waiving the Requirement to File
       a List of Equity Security Holders, and (VI) Granting Related Relief filed contemporaneously herewith,
       the Debtor is requesting a waiver of the requirement under Bankruptcy Rule 1007 to file a list of all of
       its equity security holders.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 ASCENA RETAIL GROUP, INC.,                           )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

                         N/A                                                    N/A
               Case 20-33113-KRH                           Doc 1        Filed 07/23/20 Entered 07/23/20 05:57:30                                     Desc Main
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    Fill in this information to identify the case:
    Debtor name Ascena Retail Group, Inc., et al.
    United States Bankruptcy Court for the: Eastern District of Virginia
                                                                                                                                    Check if this is an
    Case number (If known): ______________
                                                                                                                                     amended filing

    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                   12/15


    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
    Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
    unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50 largest unsecured claims.

                                                                                                                                      Amount of unsecured claim
                                                                                                                                      If the claim is fully unsecured, fill in only
                                                                                                                                      unsecured claim amount. If claim is partially
                                                                                                                                      secured, fill in total claim amount and deduction
                                                                                                                                      for value of collateral or setoff to calculate
                                                                                                                    Indicate if claim
    Name of creditor and complete mailing            Name, telephone number, and email address of   Nature of the                     unsecured claim.
                                                                                                                    is contingent,
    address, including zip code                      creditor contact                               claim
                                                                                                                    unliquidated,
                                                                                                                    disputed                               Deduction
                                                                                                                                      Total claim, if
                                                                                                                                                           for value of Unsecured
                                                                                                                                      partially
                                                                                                                                                           collateral or claim
                                                                                                                                      secured
                                                                                                                                                           setoff

1   SIMON PROPERTY GROUP                             DAVID SIMON
    ATTN: DAVID SIMON                                EMAIL -
    CHIEF EXECUTIVE OFFICER                          PHONE - 317-636-1600
    SIMON PROPERTY GROUP, INC.                       FAX -
                                                                                                        TRADE
    225 WEST WASHINGTON STREET                                                                                              C                                               $31,664,060
                                                                                                       PAYABLE
    INDIANAPOLIS, IN 46204




2   BROOKFIELD PROPERTIES                            STACIE L. HERRON
    ATTN: STACIE L. HERRON                           EMAIL -
    EXECUTIVE VICE PRESIDENT,                        STACIE.HERRON@BROOKFIELDPROPERTIES
    GENERAL COUNSEL AND SECRETARY                    RETAIL.COM;
                                                                                                        TRADE
    BROOKFIELD PLACE NEW YORK                        LINDSAY.KAHN@BROOKFIELDPROPERTIES                                      C                                               $16,619,835
                                                                                                       PAYABLE
    250 VESEY STREET, 15TH FLOOR                     RETAIL.COM;
    NEW YORK, NY 10281                               ANDREW.BRENT@BROOKFIELDPROPERTIES
                                                     .COM
                                                     PHONE - 212-417-7000
3   BOSTON PROPERTIES LIMITED                        DOUGLAS T. LINDE
    PARTNERSHIP                                      EMAIL -
    ATTN: DOUGLAS T. LINDE                           PHONE - 617-236-3300
    PRESIDENT                                        FAX - 617-536-5087
                                                                                                        TRADE
    800 BOYLSTON STREET AT THE                                                                                              C                                                $8,809,477
                                                                                                       PAYABLE
    PRUDENTIAL CENTER
    BOSTON, MA 02199-8103


4   TANGER PROPERTIES, LP                            STEVEN B. TANGER
    ATTN: STEVEN B. TANGER                           EMAIL - SBTANGER@TANGEROUTLET.COM
    CHIEF EXECUTIVE OFFICER                          PHONE - 336-292-3010
    3200 NORTHLINE AVENUE SUITE 360                  FAX - 336-852-2096
                                                                                                        TRADE
    GREENSBORO, NC 27408                                                                                                    C                                                $7,228,481
                                                                                                       PAYABLE
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Debtor Ascena Retail Group, Inc., et al.
         Name
                                                                Document     Page 10 of Case
                                                                                        18 Number (if known) ______________________________________

                                                                                                                                Amount of unsecured claim
                                                                                                                                If the claim is fully unsecured, fill in only
                                                                                                                                unsecured claim amount. If claim is partially
                                                                                                                                secured, fill in total claim amount and deduction
                                                                                                                                for value of collateral or setoff to calculate
                                                                                                              Indicate if claim
       Name of creditor and complete mailing   Name, telephone number, and email address of   Nature of the                     unsecured claim.
                                                                                                              is contingent,
       address, including zip code             creditor contact                               claim
                                                                                                              unliquidated,
                                                                                                              disputed                               Deduction
                                                                                                                                Total claim, if
                                                                                                                                                     for value of Unsecured
                                                                                                                                partially
                                                                                                                                                     collateral or claim
                                                                                                                                secured
                                                                                                                                                     setoff

  5    PAN PACIFIC CO LTD                      SUK-WON LIM
       ATTN: SUK-WON LIM                       EMAIL - PANPACIFIC@PANPACIFIC.CO.KR
       CHIEF EXECUTIVE OFFICER                 PHONE - +82-2-3494-9000
       (08380) 12                              FAX - +82-2-830-1011
                                                                                                  TRADE
       DIGITAL-RO 31-GIL                                                                                                                                               $6,831,314
                                                                                                 PAYABLE
       GURO-GU
       SEOUL, GURO-DONG, 197-21
       KOREA

  6    MGF SOURCING                            JAMES SCHWARTZ
       ATTN: JAMES SCHWARTZ                    EMAIL -
       CHIEF EXECUTIVE OFFICER                 JAMES.SCHWARTZ@MGFSOURCING.COM
       4200 REGENT STREET                      PHONE - 614-904-3269
                                                                                                  TRADE
       SUITE 205                               FAX - 614-415-7242                                                                                                      $6,726,982
                                                                                                 PAYABLE
       COLUMBUS, OH 43219




  7    SAE A TRADING CO. LTD                   WOONG-KI KIM
       ATTN: WOONG-KI KIM                      EMAIL -
       CHAIRMAN                                PHONE - +82 2 6252 7000
       SAE-A BLDG.                             FAX - +82-2-6252-7005
                                                                                                  TRADE
       429 YEONGDONG-DAERO GANGNAM-                                                                                                                                    $6,347,041
                                                                                                 PAYABLE
       GU
       SEOUL,
       KOREA

  8    ORIENT CRAFT                            SUDHIR DHINGRA
       ATTN: SUDHIR DHINGRA                    EMAIL -
       CHIEF EXECUTIVE OFFICER                 SUDHIR.DHINGRA@ORIENTCRAFT.COM
       PLOT NO. 80P SECTOR-34                  PHONE - +0124-4511300
                                                                                                  TRADE
       NEAR HERO HONDA CHOWK                   FAX - +0124-4511330                                                                                                     $5,309,190
                                                                                                 PAYABLE
       GURGAON, 122001
       INDIA


  9    THE MACERICH COMPANY                    ANN C. MENARD
       ATTN: ANN C. MENARD                     EMAIL - ANN.MENARD@MACERICH.COM
       SENIOR EXECUTIVE VICE PRESIDENT,        PHONE - 310-394-6000; 424-229-3575
       CHIEF LEGAL OFFICER AND                 FAX - 310-395-2791
                                                                                                  TRADE
       SECRETARY                                                                                                      C                                                $5,252,749
                                                                                                 PAYABLE
       401 WILSHIRE BOULEVARD, SUITE 700
       SANTA MONICA, CA 90401


  10   HIP SING CHINA INDUSTRIAL LINITED       ADA LAU
       ATTN: ADA LAU                           EMAIL -
       UNIT B5, 6/F BLK 2, CAMELPAINT BLDG     PHONE - +852-23905128
       62 HOI YUEN ROAD                        FAX - +852-23915128
                                                                                                  TRADE
       KWUN TONG, KOWLOON,                                                                                                                                             $5,075,819
                                                                                                 PAYABLE
       HONG KONG




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                                                                                                                                Amount of unsecured claim
                                                                                                                                If the claim is fully unsecured, fill in only
                                                                                                                                unsecured claim amount. If claim is partially
                                                                                                                                secured, fill in total claim amount and deduction
                                                                                                                                for value of collateral or setoff to calculate
                                                                                                              Indicate if claim
       Name of creditor and complete mailing   Name, telephone number, and email address of   Nature of the                     unsecured claim.
                                                                                                              is contingent,
       address, including zip code             creditor contact                               claim
                                                                                                              unliquidated,
                                                                                                              disputed                               Deduction
                                                                                                                                Total claim, if
                                                                                                                                                     for value of Unsecured
                                                                                                                                partially
                                                                                                                                                     collateral or claim
                                                                                                                                secured
                                                                                                                                                     setoff

  11   PT. ERATEX (HONG KONG) LTD              MR. MANIWANEN
       ATTN: MR. MANIWANEN                     EMAIL -
       PRESIDENT                               PHONE - +62-31-99001101
       SPAZIO BUILDING 3RD FLOOR UNIT.319-     FAX - +62-31-99001115
       321                                                                                        TRADE
       GRAHA FESTIVAL KAV.3 – GRAHA                                                                                                                                    $5,026,842
                                                                                                 PAYABLE
       FAMILY
       JL. MAYJEND YONO SOEWOYO
       SURABAYA, 60226
       INDONESIA
  12   THE TAUBMAN COMPANY                     CHRIS HEAPHY
       ATTN: CHRIS HEAPHY                      EMAIL - CHEAPHY@TAUBMAN.COM;
       EXECUTIVE VICE PRESIDENT,               RHURREN@TAUBMAN.COM;
       GENERAL COUNSEL & SECRETARY             MMAINVILLE@TAUBMAN.COM
                                                                                                  TRADE
       200 E. LONG LAKE ROAD, SUITE 300        PHONE - 248-258-6800                                                   C                                                $4,550,301
                                                                                                 PAYABLE
       BLOOMFIELD HILLS, MI 48304-2324         FAX -




  13   POONGIN TRADING CO.LTD                  PAUL PARK
       ATTN: PAUL PARK                         EMAIL -
       CHIEF EXECUTIVE OFFICER                 PHONE - +82-2-549-8313
       18F~20F ACE HIGH TECH CITY              FAX - +82-2-549-8310
                                                                                                  TRADE
        B/D 2 DONG, GYEONGLN-RO                                                                                                                                        $4,507,327
                                                                                                 PAYABLE
       YEONGDEUNGPO-GU
       SEOUL, 755
       KOREA

  14   TAINAN ENTERPRISES CO. LTD              CHING-HON YANG
       ATTN: CHING-HON YANG                    EMAIL -
       CHAIRMAN                                PHONE - +886 2 2391 6421
       5-1, SECTION 1 HANGZHOU SOUTH           FAX - +886 2 2397 1413
                                                                                                  TRADE
       ROAD                                                                                                                                                            $4,402,392
                                                                                                 PAYABLE
       ZHONGZHENG DISTRICT
       TAIPEI CITY, 100
       TAIWAN

  15   CBL & ASSOCIATES, INC.                  STEPHEN D. LEBOVITZ
       ATTN: STEPHEN D. LEBOVITZ               EMAIL -
       CHIEF EXECUTIVE OFFICER                 PHONE - 432-855-0001
       CBL CENTER, SUITE 500                   FAX -
                                                                                                  TRADE
       2030 HAMILTON PLACE BLVD.                                                                                      C                                                $4,244,203
                                                                                                 PAYABLE
       CHATTANOOGA, TN 37421




  16   ORACLE AMERICA INC                      DORIAN DALEY
       ATTN: DORIAN DALEY                      EMAIL - DORIAN.DALEY@ORACLE.COM
       GENERAL COUNSEL                         PHONE - 650-506-7000
       REDWOOD SHORES ORACLE                   FAX - 650-633-1813
                                                                                                  TRADE
       CORPORATION                                                                                                                                                     $4,158,303
                                                                                                 PAYABLE
       500 ORACLE PARKWAY
       REDWOOD SHORES, CA 94065




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                                                                                                                                                     collateral or claim
                                                                                                                                secured
                                                                                                                                                     setoff

  17   CHOI & SHIN'S CO.,LTD                   PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL -
       COUNSEL                                 PHONE - +82-232947200
       61 BUKCHON-RO, JONGNO-GU                FAX -
                                                                                                  TRADE
       SEOUL, 110260                                                                                                                                                   $3,973,814
                                                                                                 PAYABLE
       SOUTH KOREA




  18   CRYSTAL ELEGANCE INDUSTRIAL             LAM ANTHONY
       LIMITED                                 EMAIL - INFO@CRYSTALGROUP.COM
       ATTN: LAM ANTHONY                       PHONE -
       VICE PRESIDENT                          FAX -
                                                                                                  TRADE
       71 HOW MING STREET                                                                                                                                              $3,916,508
                                                                                                 PAYABLE
       KWUN TONG, KOWLOON,
       HONG KONG


  19   SNOGEN GREEN CO.,LTD                    JUNGKU HONG
       ATTN: JUNGKU HONG                       EMAIL -
       CHIEF EXECUTIVE OFFICER                 PHONE - +02-6496-6400
       12, GWANGPYEONG-RO 56-GIL               FAX - +02-6496-6501
                                                                                                  TRADE
       GANGNAM-GU                                                                                                                                                      $3,671,183
                                                                                                 PAYABLE
       SEOUL,
       KOREA


  20   UBASE INTERNATIONAL INC                 YONG HOE KIM
       ATTN: YONG HOE KIM                      EMAIL -
       CHIEF EXECUTIVE OFFICER                 CONTACTUS@UBASEINTERNATIONAL.COM
       345, TTUKSEOM-RO                        PHONE - +82 2-420-0001
                                                                                                  TRADE
       SEONGDONG-GU                            FAX - +82 2-421-8787                                                                                                    $3,628,175
                                                                                                 PAYABLE
       SEOUL (SEONGSU-DONG), 04780
       KOREA


  21   TEX WORLD PTE LTD                       PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL - INFO@TEXWORLD.CO
       COUNSEL                                 PHONE - +91-22-42293542
       PRESIDENT                               FAX -
                                                                                                  TRADE
       610, ATL CORPORATE PARK                                                                                                                                         $3,506,978
                                                                                                 PAYABLE
       SAKI VIHAR ROAD, POWAI
       MUMBAI, MAHARASHTRA 400072
       INDIA

  22   WESTFIELD CORPORATION, INC.             PETER SCHWARTZ
       ATTN: PETER SCHWARTZ                    EMAIL -
       GENERAL COUNSEL                         PHONE - 310-478-4456
       2049 CENTURY PARK EAST, 40TH            FAX - 310-478-1267
                                                                                                  TRADE
       FLOOR                                                                                                          C                                                $3,448,669
                                                                                                 PAYABLE
       CENTURY CITY, CA 90067




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                                                                                                                                                     collateral or claim
                                                                                                                                secured
                                                                                                                                                     setoff

  23   KYUNG SEUNG CO. LTD.                    J. J. PARK
       ATTN: J. J. PARK                        EMAIL -
       CHIEF EXECUTIVE OFFICER                 PHONE - +82-2-550-1414
       408 SAMSEOUNG-RO                        FAX - +82-2-566-6867
                                                                                                  TRADE
       GYEONGSEUNG                                                                                                                                                     $3,255,132
                                                                                                 PAYABLE
       BUILDING GANGNAM-GU
       SEOUL,
       KOREA

  24   LAKONTRA INTERNATIONAL                  PRESIDENT OR GENERAL COUNSEL
       MERCHANDISING CORP                      EMAIL -
       ATTN: PRESIDENT OR GENERAL              PHONE -
       COUNSEL                                 FAX -
                                                                                                  TRADE
       MERCHANDISING CORP NO.186 SEC.4                                                                                                                                 $3,031,988
                                                                                                 PAYABLE
       NANKINGE. RD
       TAIPEI,
       TAIWAN

  25   MTL SOURCING DMCC                       PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL -
       COUNSEL                                 PHONE -
       HDS BUSINESS CENTRE                     FAX -
                                                                                                  TRADE
       JUMAIRA LAKE TOWERS                                                                                                                                             $3,024,427
                                                                                                 PAYABLE
       DUBAI,
       UNITED ARAB EMIRATES


  26   RICHA GLOBAL EXPORTS PVT LTD            VIRENDER UPPAL
       ATTN: VIRENDER UPPAL                    EMAIL - INFO@RICHAGLOBAL.COM
       CHAIRMAN                                PHONE - +91-124-4314000
       219, UDYOG VIHAR PHASE-I GURGAON        FAX -
                                                                                                  TRADE
       HARYANA, 122001                                                                                                                                                 $3,020,253
                                                                                                 PAYABLE
       INDIA




  27   IBM CORPORATION                         PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL - ARVIND.KRISHNA@IBM.COM
       COUNSEL                                 PHONE - 914-499-1900
       1 NEW ORCHARD ROAD                      FAX - 914-765-4190
                                                                                                  TRADE
       ARMONK, NY 10504-1722                                                                                                                                           $2,952,280
                                                                                                 PAYABLE




  28   BUSANA APPAREL PTE LTD                  MR. MANIWANEN
       ATTN: MR. MANIWANEN                     EMAIL -
       CHAIRMAN                                PHONE - +6221-522-9344
       AXA TOWER 41ST & 43RD FLOOR             FAX - +6221-3005-6052
                                                                                                  TRADE
       KUNINGAN CITY                                                                                                                                                   $2,847,689
                                                                                                 PAYABLE
       JALAN PROF. DR. SATRIO KAV. 18
       KUNINGAN, SETIABUDI, JAKARTA
       12940
       INDONESIA




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                                                                                                                                                     collateral or claim
                                                                                                                                secured
                                                                                                                                                     setoff

  29   WASHINGTON PRIME GROUP, INC.            ROBERT P. DEMCHAK, ESQ.
       ATTN: ROBERT P. DEMCHAK, ESQ.           EMAIL -
       EXECUTIVE VICE PRESIDENT,               WPGINFO@WASHINGTONPRIME.COM
       GENERAL COUNSEL AND CORPORATE           PHONE - 614-621-9000
                                                                                                  TRADE
       SECRETARY                               FAX -                                                                  C                                                $2,726,248
                                                                                                 PAYABLE
       180 EAST BROAD STREET
       COLUMBUS, OH 43215


  30   MOLAX TRADING LIMITED                   PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL - ADMIN@MOLAXTRADING.COM
       COUNSEL                                 PHONE - 02-773-3601
       75-95, SEOSOMUN-DONG                    FAX - 02-757-2044
                                                                                                  TRADE
       8RD FLOOR, YOUONE BUILDING                                                                                                                                      $2,656,298
                                                                                                 PAYABLE
       CHUNG-KU
       SEOUL, 100-110
       KOREA

  31   GUANGDONG SINGWEAR GARMENTS             PRESIDENT OR GENERAL COUNSEL
       CO LTD                                  EMAIL -
       ATTN: PRESIDENT OR GENERAL              PHONE - +86-0754-82201270
       COUNSEL                                 FAX - +86-754-87715720
                                                                                                  TRADE
       XIANGANG INDUSTRIAL PARK                                                                                                                                        $2,650,820
                                                                                                 PAYABLE
       SIMAPU TOWN, CHAONAN DISTRICT
       GUANGDONG PROVINCE
       SHANTOU CITY,
       CHINA
  32   ASMARA INTERNATIONAL LIMITED            VENKY NAGAN
       ATTN: VENKY NAGAN                       EMAIL - CONTACT@ASMARAGROUP.COM
       CHIEF EXECUTIVE OFFICER                 PHONE - +852-27442255
       UNIT 8B, TONG YUEN FACTORY              FAX - +852-27442244
                                                                                                  TRADE
       BUILDING                                                                                                                                                        $2,604,654
                                                                                                 PAYABLE
       505 CASTLE PEAK ROAD
       LAI CHI KOK, KOWLOON,
       HONG KONG

  33   ANANTA SPORTSWEAR LIMITED               AMIN KHAN
       ATTN: AMIN KHAN                         EMAIL - AMIN@BIMPEX.COM;
       PRESIDENT                               SAJED@ANANTA.COM.BD
       2071, N. COLLINS BLVD.                  PHONE - 972-759 0732
                                                                                                  TRADE
       STE 201                                 FAX - 972-692-8826                                                                                                      $2,595,148
                                                                                                 PAYABLE
       RICHARDSON, TX 75080




  34   ACCENTURE LLP                           JULIE SWEET
       ATTN: JULIE SWEET                       EMAIL - JULIE.SWEET@ACCENTURE.COM
       CHIEF EXECUTIVE OFFICER                 PHONE - +353-1646-2000
       1 GRAND CANAL SQUARE                    FAX - +353-1646-2020
                                                                                                  TRADE
       DUBLIN, D02 P820                                                                                                                                                $2,555,866
                                                                                                 PAYABLE
       IRELAND




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                                                                                                                                Amount of unsecured claim
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                                                                                                                                partially
                                                                                                                                                     collateral or claim
                                                                                                                                secured
                                                                                                                                                     setoff

  35   INTERNATIONAL TRADING SERVICES          PRESIDENT OR GENERAL COUNSEL
       LTD                                     EMAIL -
       ATTN: PRESIDENT OR GENERAL              PHONE - 956-831-2740
       COUNSEL                                 FAX -
                                                                                                  TRADE
       VICTORIA LANE INDUSTRIAL PARK                                                                                                                                   $2,520,994
                                                                                                 PAYABLE
       7620 VICTORIA CT
       BROWNSVILLE, TX 78521


  36   JIANGSU GUOTAI GUOSHENG CO LTD          PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL - HUASHENG@GTHS.CN
       COUNSEL                                 PHONE - +0512-58988898
       7-22/F GUOTAI NEW CENTURY PLAZA         FAX - +0512-58686837
                                                                                                  TRADE
       NO.125 MIDDLE RENMIN RD                                                                                                                                         $2,465,288
                                                                                                 PAYABLE
       ZHANGJIAGANG JIANGSU, 215600
       CHINA


  37   HANGZHOU LINGXIU KNITTING CO LTD        JARED LU
       ATTN: JARED LU                          EMAIL - JARED_LU@LINXIU.COM
       418 HENGFU ROAD                         PHONE - +86-571-64673088
       HENGCUN TOWN                            FAX -
                                                                                                  TRADE
       TONGLU COUNTY                                                                                                                                                   $2,458,758
                                                                                                 PAYABLE
       ZHEJIANG,
       CHINA


  38   JOHN GALLIN & SON, INC.                 CHRISTOPHER GALLIN
       ATTN: CHRISTOPHER GALLIN                EMAIL - CHRISG@GALLIN.COM
       PRESIDENT                               PHONE - 212-252-8900
       102 MADISON AVENUE                      FAX - 212-252-8910
                                                                                                  TRADE
       9TH FLOOR                                                                                                                                                       $2,437,642
                                                                                                 PAYABLE
       NEW YORK, NY 10016




  39   JONES LANG LASALLE AMERICAS, INC.       ALAN TSE
       ATTN: ALAN TSE                          EMAIL - ALAN.TSE@JLL.COM
       GLOBAL CHIEF LEGAL OFFICER AND          PHONE - 312-228-2808
       CORPORATE SECRETARY                     FAX -
                                                                                                  TRADE
       200 EAST RANDOLPH DRIVE                                                                                        C                                                $2,364,445
                                                                                                 PAYABLE
       CHICAGO, IL 60601




  40   LEE & CO.                               ARLEN LEE
       ATTN: ARLEN LEE                         EMAIL - HELLO@LEEANDCO.COM
       CHIEF EXECUTIVE OFFICER                 PHONE - 415-475-9029
       1278 INDIANA ST                         FAX -
                                                                                                  TRADE
       SUITE 101                                                                                                                                                       $2,354,770
                                                                                                 PAYABLE
       SAN FRANCISCO, CA 94107




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                                                                                                                                                     collateral or claim
                                                                                                                                secured
                                                                                                                                                     setoff

  41   AJG INC                                 J. PATRICK GALLAGHER JR.
       ATTN: J. PATRICK GALLAGHER JR.          EMAIL -
       CHIEF EXECUTIVE OFFICER                 PHONE - 630-773-3800
       2850 GOLF ROAD                          FAX - 630-285-4000
                                                                                                  TRADE
       ROLLING MEADOWS, IL 60008                                                                                                                                       $2,258,832
                                                                                                 PAYABLE




  42   WS TRADING LIMITED                      PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL -
       COUNSEL                                 PHONE -
       50 TRADESTON STREET                     FAX -
                                                                                                  TRADE
       GLASGOW, SCOTLAND, G5 8BH                                                                                                                                       $2,248,644
                                                                                                 PAYABLE
       UNITED KINGDOM




  43   SOLVE IT CO., LTD                       PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL -
       COUNSEL                                 PHONE - +82-24536868
       3/F 556 CHEONHO-DAERO                   FAX -
                                                                                                  TRADE
       GWANGJIN-GU SEOUL, 143847                                                                                                                                       $2,098,603
                                                                                                 PAYABLE
       SOUTH KOREA




  44   TISHMAN SPEYER PROPERTIES               MICHAEL B. BENNER
       ATTN: MICHAEL B. BENNER                 EMAIL - NY@TISHMANSPEYER.COM
       SENIOR MANAGING DIRECTOR AND            PHONE - 212-715-0300
       GENERAL COUNSEL                         FAX - 212-319-1745
                                                                                                  TRADE
       ROCKEFELLER CENTER, 45                                                                                         C                                                $2,026,953
                                                                                                 PAYABLE
       ROCKEFELLER PLAZA
       NEW YORK, NY 10111


  45   MODINDIA EXIM PRIVATE LTD               GAGAN GULATI
       ATTN: GAGAN GULATI                      EMAIL - INFO@MODELAMAEXPORTS.COM
       DIRECTOR                                PHONE -
       B-57 OKHLA INDUSTRIAL AREA, PHASE-      FAX -
                                                                                                  TRADE
       I                                                                                                                                                               $2,015,483
                                                                                                 PAYABLE
       NEW DELHI, 110020
       INDIA


  46   SOUTH ASIA KNITTING FTY LTD (NEW)       PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL -
       COUNSEL                                 LEOYEUNG@SOUTHASIAGROUP.COM
       17/F, SOUTH ASIA BUILDING               PHONE - 852-2345-0261
                                                                                                  TRADE
       108 HOW MING STREET                     FAX - 852-2343-3666                                                                                                     $1,936,284
                                                                                                 PAYABLE
       KWUN TONG
       KOWLOON,
       HONG KONG




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                                                                                                                                partially
                                                                                                                                                     collateral or claim
                                                                                                                                secured
                                                                                                                                                     setoff

  47   MEENU CREATION LLP                      PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL - ED@MEENUCREATION.COM
       COUNSEL                                 PHONE - 91-120-4080200
       A-33. SECTOR - 64 NOIDA DISTT           FAX - 91-120-4080200
                                                                                                  TRADE
       GAUTAM BUDH NAGAR, UP-201301                                                                                                                                    $1,876,239
                                                                                                 PAYABLE
       INDIA




  48   THE FORBES COMPANY                      PRESIDENT OR GENERAL COUNSEL
       ATTN: PRESIDENT OR GENERAL              EMAIL -
       COUNSEL                                 NFORBES@THEFORBESCOMPANY.COM
       100 GALLERIA OFFICENTRE, SUITE 427      PHONE - 248-827-4600
                                                                                                  TRADE
       SOUTHFIELD, MI 48034                    FAX -                                                                  C                                                $1,830,041
                                                                                                 PAYABLE




  49   GAURAV INTERNATIONAL                    ANJU SACHDEVA
       ATTN: ANJU SACHDEVA                     EMAIL - GINTL@RICHAGROUP.COM
       PD MANAGER                              PHONE - +91 124 480 3900
       198, UDYOG VIHAR PHASE 1                FAX - +91 124 2439710
                                                                                                  TRADE
       UDYOG VIHAR, SECTOR 20                                                                                                                                          $1,820,631
                                                                                                 PAYABLE
       GURUGRAM, HARYANA, 122001
       INDIA


  50   CHRISTINE CLARK AND OTHER               WILLIAM B. SULLIVAN, ERIC K. YAECKEL,
       SIMILARLY SITUATED INDIVIDUALS          AND ANDREA TORRES-FIGUEROA
       ATTN: WILLIAM B. SULLIVAN, ERIC K.      EMAIL -
       YAECKEL, AND ANDREA TORRES-             HELEN@SULLIVANLAWGROUPAPC.COM,
                                                                                                LITIGATION
       FIGUEROA                                YAECKEL@SULLIVANLAWGROUPAPC.COM,                                       C                                             Undetermined
                                                                                               SETTLEMENT
       ATTORNEYS FOR PLAINTIFFS                ATORRES@SULLIVANLAWGROUPAPC.COM
       SULLIVAN LAW GROUP, APC                 PHONE - 619-702-6760
       2330 THIRD AVENUE                       FAX - 619-702-6761
       SAN DIEGO, CA 92101




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     Case 20-33113-KRH                     Doc 1        Filed 07/23/20 Entered 07/23/20 05:57:30                                Desc Main
                                                       Document     Page 18 of 18


    Fill in this information to identify the case and this filing:

   Debtor Name          Ascena Retail Group, Inc.

   United States Bankruptcy Court for the:                Eastern District of Virginia
                                                                                                    (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                        List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                    /s/ Carrie W. Teffner
                                       07/23/2020
                                       MM/ DD/YYYY                                 Signature of individual signing on behalf of debtor
                                                                                   Carrie W. Teffner
                                                                                   Printed name
                                                                                   Authorized Signatory
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
